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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

  JOHNSON & JOHNSON                        :
  HEALTH CARE SYSTEMS INC.,                    Civil Action No. 22-2632(JKS)(CLW)
                                           :
                     Plaintiff,                Hon. Jamel K. Semper, U.S.D.J.
                                           :   Hon. Cathy L. Waldor, U.S.M.J.
               vs.                             Hon. Freda L. Wolfson, Special Master
                                           :
  SAVE ON SP, LLC,                             ORDER GRANTING
                                           :   MOTION TO SEAL
                     Defendant.
                                           :

        This matter having been brought to the Court upon the joint motion of

  Plaintiff Johnson & Johnson Health Care Systems Inc. (“JJHCS”) and Defendant

  Save On SP, LLC (“SaveOnSP”), by and through their attorneys, seeking an order
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  to (a) permanently maintain under seal the letters and supporting exhibits filed by

  counsel for the parties regarding (i) SaveOnSP’s Motion to Compel JJHCS to

  Produce “Best Price” Certifications, dated April 18, 2024, with related briefing on

  May 2 and May 9, 2024 (ECF No. 285, filed May 13, 2024); (ii) SaveOnSP’s

  Motion to Compel JJHCS to Produce TrialCard Documents, dated April 19, 2024,

  with related briefing on May 7 and May 17, 2024 (ECF No. 312, filed June 12,

  2024); and (iii) SaveOnSP’s Motion to Compel JJHCS to Produce Documents

  from the Janssen Entities, dated April 22, 2024, with related briefing on May 14

  and May 21, 2024 (ECF No. 313, filed June 12, 2024) (collectively, the “Subject

  Motions”); and (b) permit JJHCS to file the proposed public versions of ECF Nos.

  285, 312, and 313 attached as Exhibits A, B, & C to the Declaration of Jeffrey J.

  Greenbaum submitted in support of this motion (“Greenbaum Declaration”); and

  the Court having considered the motion, the Court makes the following findings of

  fact and conclusions of law, pursuant to L. Civ. R. 5.3(c)(6):

        (1) As to JJHCS’s request to seal its confidential materials, the Court finds

           that the Subject Motions contain information that is non-public business,

           trade secret and/or proprietary information and confidential health

           information involving the administration of the Janssen CarePath

           Program and the JJHCS business (the “JJHCS Confidential Materials”).




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       (2) The Court further finds that the JJHCS Confidential Materials contain

          highly sensitive, proprietary business information of JJHCS that is not

          known to the general public.

       (3) The Court further finds that the parties have safeguarded and protected

          the confidentiality of the JJHCS Confidential Materials, including

          throughout the pendency of this action.

       (4) The Court further finds that JJHCS would suffer substantial and specific

          harm, including but not limited to, potential financial damage and

          disclosure of competitive business information through the divulgence of

          such confidential information and that JJHCS has a strong and legitimate

          interest in protecting this confidential information from being disclosed

          to the public.

       (5) The Court further finds that Confidential Health Information would be

          improperly revealed to the public if the Confidential Materials were filed

          on the public docket.

       (6) The Court further finds that no less restrictive alternative to sealing exists

          and that JJHCS has proposed redactions where appropriate to minimize

          the amount of sealing necessary.




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       (7) For these reasons, good cause exists for protecting the JJHCS

          Confidential Materials pursuant to Fed. R. Civ. P. 26(c)(1)(G) and L.

          Civ. R. 5.3(c)(2).

       (8) As to the information that SaveOnSP seeks to seal, the Court finds that

          Exhibits 3-4 of the May 13, 2024 Best Price Motion, JJHCS’s May 2,

          2024 Opposition and Exhibit 6, SaveOnSP’s May 9, 2024 Reply and

          Exhibit 30 [collectively, ECF No. 285]; Exhibits 12, 39-41, 46-47 of the

          April 19, 2024 TrialCard Motion, Exhibit 31, 39, 41-43 to the May 7,

          2024 Opposition, and Exhibit 56 to the May 14, 2024 Reply [collectively,

          ECF No. 312]; and Exhibit 78 of the April 22, 2024 Janssen Entities

          Motion [ECF No. 313] contain SaveOnSP’s              proprietary business

          information and the confidential health information of patients

          (collectively, the “SaveOnSP Confidential Materials”).

       (9) Avoiding the public disclosure of this information is necessary to prevent

          harm to the parties. See e.g., Rosario v. Doe, No. CIV. 08-5185 RMB,

          2013 WL 3283903, at *2-3 (D.N.J. June 25, 2013) (sealing records

          containing private medical information or proprietary information);

          Goldenberg v. Indel, Inc., 2012 WL 15909, at *3 (D.N.J. Jan. 3, 2012)

          (granting motion to seal “commercially sensitive and proprietary non-

          public business information”); Bracco Diagnostics, Inc. v. Amersham


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          Health Inc., 2007 WL 2085350, at *9-10 (D.N.J. July 18, 2007) (granting

          motion to seal where the public availability of documents containing

          confidential business information would have put a party at a competitive

          disadvantage).

       (10) It is believed that no less restrictive alternative is available to prevent

          the disclosure of SaveOnSP’s proprietary business information and

          confidential patient health information. This Motion to Seal has been

          narrowly tailored to seek sealing as to only those materials that have been

          deemed confidential.

       (11) Upon consideration of the papers submitted in support of the Motion

          and the materials that SaveOnSP has designated as Confidential, the

          Court concludes that SaveOnSP has met its burden of proving, under L.

          Civ. R. 5.3 and applicable case law, that the information should be filed

          under seal. Specifically, the Court concludes that: (a) Exhibits 3-4 of the

          May 13, 2024 Best Price Motion, JJHCS’s May 2, 2024 Opposition,

          SaveOnSP’s May 9, 2024 Reply and Exhibit 30 [collectively, ECF No.

          285] contain confidential information; (b) Exhibits 12, 39-41, 46-47 of

          the April 19, 2024 TrialCard Motion, Exhibit 31, 39, 41-43 to the May 7,

          2024 Opposition, and Exhibit 56 to the May 14, 2024 Reply [collectively,

          ECF No. 312] contain confidential information; (c) Exhibit 78 of the


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            April 22, 2024 Janssen Entities Motion [ECF No. 313] contains

            confidential information; (d) the parties have a legitimate interest in

            maintaining the confidentiality of this information in order to protect

            against disclosure; (e) public disclosure of this information would result

            in clearly defined and serious injury; and (f) no less restrictive alternative

            to sealing the subject documents is available.

        (12) The foregoing conclusions are supported by relevant case law holding

            that the right of public access to court filings is not absolute and may be

            overcome by a showing such as made here, in the discretion of the trial

            court. See Nixon v. Warner Comms., Inc., 435 U.S. 589, 603 (1978). The

            Court, upon such a proper showing, may in its discretion prevent

            confidential    materials   from     being      transmuted    into   materials

            presumptively subject to public access. Leucadia, Inc. v. Applied

            Extrusion Techs., Inc., 998 F.2d 157, 166 (3d Cir. 1993).

        IT IS ON THIS _______ day of ______________________, 2024;

        ORDERED, that pursuant to L. Civ. R. 5.3, the JJHCS Confidential

  Materials are confidential and entitled to protection; and it is further

        ORDERED, that pursuant to L. Civ. R. 5.3, the SaveOnSP Confidential

  Materials are confidential and entitled to protection; and it is further




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        ORDERED that the motion to seal is GRANTED and ECF Nos. 285, 312,

  and 313 are hereby permanently SEALED; and it is further

        ORDERED that the Clerk of Court shall maintain the unredacted versions of

  the Subject Motions at ECF Nos. 285, 312, and 313 under seal; and it is further

        ORDERED that the parties are directed to file the redacted versions of

  ECF Nos. 285, 312, and 313, including all exhibits, consistent with their

  proposed redactions submitted herewith.




                                                HON. FREDA L. WOLFSON (ret.)
                                                      SPECIAL MASTER




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